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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

                                              :

Liborio Alday,                                :

                 Plaintiff,                   :       Civil Case No.:

vs.                                           :

GC Services, LP,                              :

                 Defendant.                   :

                                              :


                                  PLAINTIFF’S COMPLAINT

         Plaintiff, LIBORIO ALDAY (Plaintiff), through Plaintiff’s attorney, The Law Firm of

Michael Alan Siddons, alleges the following against Defendant, GC SERVICES, LP

(Defendant):

                                       INTRODUCTION

      1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692

         et seq. (“FDCPA”).




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                              JURISDICTION AND VENUE

  2. This Court has jurisdiction under 28 U.S.C. §1331 and 15 U.S.C. §1692k.

  3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

     actions may be brought and heard before “any appropriate United States district court

     without regard to the amount in controversy.”

  4. Venue and personal jurisdiction in this District are proper because Defendant does or

     transacts business within this District, and a material portion of the events at issue

     occurred in this District.

                                         PARTIES

  5. Plaintiff is a natural person residing in West Orange, Essex County, New Jersey.

  6. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3).

  7. Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

  8. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6).

  9. Within the last year, Defendant attempted to collect a consumer debt from Plaintiff.

  10. Defendant is a business entity engaged in the collection of debt within the State of New

     Jersey.

  11. Defendant is a Delaware Limited Partnership with its headquarters in Houston, Harris

     County, Texas. See Defendant’s Answer, Document No. 8, ¶12, 2:13-cv-11710-MOB-

     RSW.

  12. Defendant’s business includes, but is not limited to, collecting on unpaid, outstanding

     account balances.

  13. When an unpaid, outstanding account is placed with Defendant it is assigned a file

     number.
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  14. The principal purpose of Defendant’s business is the collection of debts allegedly owed

     to third parties.

  15. Defendant regularly collects, or attempts to collect, debts allegedly owed to third parties.

     See Defendant’s Answer, Document No. 8, ¶16, 2:13-cv-11710-MOB-RSW.

  16. During the course of its attempts to collect debts allegedly owed to third parties,

     Defendant sends to alleged debtors bills, statements, and/or other correspondence, via

     the mail and/or electronic mail, and initiates contact with alleged debtors via various

     means of telecommunication, such as by telephone and facsimile.

  17. Defendant acted through its agents, employees, officers, members, directors, heirs,

     successors, assigns, principals, trustees, sureties, subrogees, representatives, and

     insurers.

                                FACTUAL ALLEGATIONS

  18. Defendant is attempting to collect a consumer debt from Plaintiff.

  19. The alleged debt owed arises from transactions for personal, family, and household

     purposes.

  20. Within one (1) year of Plaintiff filing this Complaint, Defendant was hired to collect on

     the alleged debt.

  21. Defendant called Plaintiff at 973-393-79xx in an attempt to collect on the alleged debt.

  22. Within one (1) year of Plaintiff filing this Complaint, Defendant communicated with

     Plaintiff in an attempt to collect on the alleged debt.

  23. Within one (1) year of Plaintiff filing this Complaint, Defendant left Plaintiff at one

     voicemail message regarding the alleged debt.

  24. Within one (1) year of Plaintiff filing this Complaint, Defendant left the following
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     voicemail message for Plaintiff, “Hi Liborio Alday this is Colleen. Please give me a call

     back at 866-749-7275, extension 6122. Thank you.”

  25. Defendant’s collector that left the message transcribed in paragraph 24 was working

     within the scope of her employment when she communicated with Plaintiff in an attempt

     to collect a debt.

  26. Defendant’s message for Plaintiff does not state that the call is from GC Services, LP.

  27. Defendant’s message for Plaintiff does not state that the collector is attempting to collect

     a debt.

  28. Defendant’s collector that left the message transcribed in paragraph 24 is familiar with

     the FDCPA.

  29. Defendant’s collector that left the message transcribed in paragraph 24 knows the

     FDCPA requires debt collectors to identify the company’s name when placing a

     telephone call.

  30. Defendant’s collector that left the message transcribed in paragraph 24 knows the

     FDCPA requires debt collectors to state that the communication is an attempt to collect a

     debt when leaving consumers a voicemail message.

  31. The telephone number of 866-749-7275 is one of Defendant’s telephone numbers.

  32. Defendant maintained a Call Detail Search regarding Plaintiff’s Account.

  33. Defendant maintained an Account Detail Listing regarding Plaintiff’s Account.

  34. Defendant recorded all of its telephone communications with Plaintiff regarding the

     Account.

  35. Defendant recorded all of its telephone communications with third parties regarding the

     Account.
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  36. Defendant has in its possession audio recordings made in connection with Defendant’s

     efforts to collect the debt at issue in this matter.

  37. In the normal course of business, Defendant does not retain copies of the actual letters it

     sends to various debtors.

  38. Here, Defendant did not retain copies of the actual letters it sent to Plaintiff regarding the

     Account.

  39. Per the nationwide PACER records, Defendant has defended approximately two-hundred

     four (204) lawsuits throughout the nation in the last year prior to the date Plaintiff filed

     this Complaint.

  40. Within one (1) year of Plaintiff filing this Complaint, Defendant has plead a Bona Fide

     Error Affirmative Defense in every Answer it filed in an FDCPA case.

  41. In the last three (3) years, Defendant has had over 250 Complaints filed against it with

     the Better Business Bureau.

  42. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 2:13-cv-11710, Darci Ravenscraft v. GC Services, LP.

  43. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 2:12-cv-02637, Manrico Lollie v GC Services, LP.

  44. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 1:13-cv-00084, Daniel Lambeth v. GC Services, LP.

  45. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 1:13-cv-03570, Mordechai Pinson v. GC Services, LP.

  46. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 5:13-cv-06093, Lana Babcock v. GC Services, LP.
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  47. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 3:13-cv-00510, Sheila Pratt v. GC Services, LP.

  48. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 4:13-cv-00199, Thomas Laile v. GC Services, LP.

  49. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 4:13-cv-13744, Tamara Travers v. GC Services, LP.

  50. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 1:13-cv-00984, David Cruz v. GC Services, LP.

  51. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 3:13-cv-00518, Bart Martinez v. GC Services, LP.

  52. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 3:13-cv-00519, Jo Lynn Eaton v. GC Services, LP.

  53. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 3:13-cv-01002, Tracy Heyder v. GC Services, LP.

  54. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 1:13-cv-00363, Bruce McInnes v. GC Services, LP.

  55. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 1:13-cv-00364, Jerome Brewer v. GC Services, LP.

  56. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 2:13-cv-01386, Stephanie Grooms v. GC Services, LP.

  57. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 1:13-cv-06864, Jeffrey Ourvan v. GC Services, LP.

  58. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message
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     in Case Number 1:13-cv-02226, Steven Wagner v. GC Services, LP.

  59. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 5:13-cv-01873, Hafford Hester v. GC Services, LP.

  60. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 2:13-cv-01882, Arlene Adleff v. GC Services, LP.

  61. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 2:13-cv-06096, Karen Ersek v. GC Services, LP.

  62. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message

     in Case Number 5:13-cv-06095, Karen Bistrek v. GC Services, LP.

                           COUNT I
  DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

  63. Defendant violated the FDCPA based on the following:

         a. Defendant violated §1692d of the FDCPA by engaging in conduct that the

            natural consequences of which was to harass, oppress, and abuse Plaintiff in

            connection with the collection of an alleged debt;

         b. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

            meaningful disclosure of the caller’s identity when Defendant left Plaintiff a

            message that failed to state that call was from GC Services, LP.

         c. Defendant violated §1692e of the FDCPA by using false, deceptive, or

            misleading representations or means in connection with the collection of a debt;

         d. Defendant violated §1692e(10) of the FDCPA by using false representation or

            deceptive means in connection with the collection the alleged debt; and

         e. Defendant violated §1692e(11) of the FDCPA when Defendant left Plaintiff a

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              voicemail message that did not state the communication was an attempt to collect

              a debt.

   64. Defendant’s acts as described above were done intentionally with the purpose of

      coercing Plaintiff to pay the alleged debt.

   65. As a result of the foregoing violations of the FDCPA, Defendant is liable to Plaintiff for

      statutory damages, and costs and attorney’s fees.

      WHEREFORE, Plaintiff, LIBORIO ALDAY, respectfully requests judgment be entered

against Defendant, GC SERVICES, LP, for the following:

   66. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k;

   67. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

      15 U.S.C. 1692k; and

   68. Any other relief that this Honorable Court deems appropriate.



                                     RESPECTFULLY SUBMITTED,



October 30, 2013                     By:/s/ Michael A. Siddons_______
                                            Michael A. Siddons
                                            Attorney for Plaintiff




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